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                      In the United States Court of International Trade


SEA SHEPHERD NEW ZEALAND et al.,

              Plaintiffs,

         v.                                          Civil Action No. 1:20-cv-00112-GSK

WILBUR ROSS et al.,                                  Before: Judge Gary S. Katzmann

              Defendants,

       and

NEW ZEALAND GOVERNMENT,

              Defendant-Intervenor.


                                         Order

       Having reviewed the parties’ joint stipulated briefing schedule in this matter, the

Court hereby ORDERS the following briefing schedule:

                    Action                                             Date

 Plaintiffs file combined Reply in support of     February 12, 2021
 Motion for Preliminary Injunction and
 Opposition to Defendants and Defendant-
 Intervenor’s Motions to Dismiss

 Defendants and Defendant-Intervenor file         March 5, 2021
 Replies in support of Motions to Dismiss


       The Court further ORDERS that Plaintiffs shall have an 18,000 word limit for their

combined Reply on the the Preliminary Injunction and Opposition to Motions to Dismiss.

Date: January 29, 2021

                                                     /S/ Gary S. Katzmann
                                                     _________________________________
                                                     Hon. Gary S. Katzmann
                                                     Judge of the Court of International Trade
